941 F.2d 1207
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Bernard RICHARDSON, Plaintiff-Appellant,v.Teresa STEWART, E.N. Gladwell, John B. Taylor, William P.Rogers, A.W. Woolfrey, L.C. Chastain, Faye W. McCauley, T.K.Bowles, D.S. Massie, Susan Ponton, Steve Hollar, E.C.Morris, D.C. Stewart, T. Scott Miller, Commonwealth ofVirginia, Defendants-Appellees.
    No. 91-7093.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 24, 1991.Decided Sept. 4, 1991.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.   James C. Turk, Chief District Judge.  (CA-90-650-R)
      Bernard Richardson, appellant pro se.
      William Rundahl Coleman, Office of the Attorney General of Virginia, Richmond, Va., for appellees.
      W.D.Va.
      AFFIRMED.
      Before K.K. HALL and NIEMEYER, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Bernard Richardson appeals from the district court's order denying relief under 42 U.S.C. § 1983.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Richardson v. Stewart, CA-90-650-R (W.D.Va. Apr. 25, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    